            Case 2:18-cv-04375-CFK Document 25 Filed 01/07/19 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT FOR
                 THE EASTERN DISTRICT OF PENNSYLVANIA
                          PHILADELPHIA DIVISION
________________________________________

 JAMES EVERETT SHELTON AND JON
 FREY, on behalf of themselves and others
 similarly situated,

                 Plaintiffs,
                                                          Case No. 2:18-cv-4375-CMR
 vs.

 DIRECT ENERGY, LP and KAA ENERGY,                       COMPLAINT – CLASS ACTION
 INC.

                 Defendants.



  UNOPPOSED MOTION OF JAMES EVERETT SHELTON TO TRANSFER VENUE

       The plaintiff James Everett Shelton, with the concurrence of Direct Energy, LP, the only

Defendant to file an appearance, respectfully request that the Court transfer this action to the

United States District Court for the Northern District of Ohio, Cleveland Division, pursuant to

28 U.S.C. § 1404(a). Transfer of this action is appropriate as set forth below:

       1.       Plaintiffs James Everett Shelton and Jon Frey filed this matter as a putative class

action lawsuit alleging violations of the Telephone Consumer Protection Act, 47 U.S.C 227.

       2.       The plaintiff Jon Frey is a resident of this District and was in this District at the

time of the calls he alleged.

       3.       Mr. Frey has filed a Notice of Dismissal of his claims. See ECF No. 24.

       4.       Mr. Shelton is also a resident of this District, but attends Case Western

University, which is in the United States District Court for the Northern District of Ohio,

Cleveland Division.
            Case 2:18-cv-04375-CFK Document 25 Filed 01/07/19 Page 2 of 2




       5.       Mr. Shelton was at his home located near Case Western University when he

received the call on his cellular telephone that is the subject of the First Amended Complaint.

       6.       As Mr. Frey’s claims have now been dismissed, the appropriate venue for Mr.

Shelton’s claim is the United States District Court for the Northern District of Ohio, Cleveland

Division, pursuant to 28 U.S.C. §1391(b)(2).

       7.       In accordance with 28 U.S.C. § 1404(a), all appearing parties have consented to a

transfer to the United States District Court for the Northern District of Ohio, Cleveland Division.

       Counsel for the remaining plaintiff Jamie Shelton and counsel for Direct Energy, LP have

conferred and Direct Energy joins in the relief requested by this motion.

       RESPECTFULLY SUBMITTED AND DATED this 7th day of January, 2019.


By:/s/ Anthony Paronich
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Counsel for Plaintiffs



                                 CERTIFICATE OF SERVICE
       I, hereby certify that on January 7, 2019, I filed the foregoing with the Court’s CM/ECF

system, which served the same on the counsel of record.


                                               /s/ Anthony Paronich
                                               Anthony Paronich




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